

People v Espinal (2022 NY Slip Op 05668)





People v Espinal


2022 NY Slip Op 05668


Decided on October 11, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 11, 2022

Before: Gische, J.P., Kern, Gesmer, Rodriguez, Pitt, JJ. 


SCI No. 2067/19 Appeal No. 16376 Case No. 2020-00273 

[*1]The People of the State of New York, Respondent,
vLuis Espinal, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Bryan S. Furst of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Alan Gadlin of counsel), for respondent.



Judgment, Supreme Court, New York County (Kevin McGrath, J. at plea, Laurie Peterson, J. at sentencing), rendered September 26, 2019, convicting defendant, of three counts of burglary in the third degree, and sentencing him to five years' probation, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers and the People's consent, we vacate the surcharge and fees imposed at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 11, 2022








